      Case 3:09-cv-05718-RS Document 296 Filed 06/10/22 Page 1 of 3




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                          UNITED STATES DISTRICT COURT
11
            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
12
                                           Case No. 3:09-CV-05718-RS
13   NETLIST, INC.,
                                           [AMENDED] [PROPOSED] ORDER
14        Plaintiff,                       GRANTING GOOGLE’S
                                           ADMINISTRATIVE MOTION TO FILE
15               v.                        UNDER SEAL DEFENDANT GOOGLE
                                           LLC’S MOTION TO STAY
16   GOOGLE LLC,
                                           Judge: Hon. Richard Seeborg
17        Defendant.

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                                                               Case No. 3:09-CV-05718-RS
                                 [AMENDED] [PROPOSED] ORDER GRANTING MOTION TO SEAL
        Case 3:09-cv-05718-RS Document 296 Filed 06/10/22 Page 2 of 3




 1                                        [PROPOSED] ORDER

 2         Before the Court is Google’s Administrative Motion to File Under Seal its Motion to Stay

 3 (“Motion”). Having considered the Motion, supporting declaration, and other papers on file, and good

 4 cause having been found, the Court ORDERS as follows:

 5       Document Sought to           Party Claiming         Court’s Ruling on Motions to Seal
               Be Sealed               Confidentiality
 6       Motion to Stay              Google                GRANTED as to redacted portions at:
 7
                                                           ii:7, 1:9-10, 1:10-11, 2:6-9, 3:12-15,
 8                                                         3:25-26, 3:27-28, 4:1, 8:13-15, 8:27-
                                                           28, 10:22-24, 12:16
 9       Exhibit 1 (Google           Google                GRANTED as to redacted portions at:
         Inc.’s September 13,
10       2010 Third Amended                                17:4-12, 18:10-19:2
11       Responses and
         Objections to Plaintiff
12       Netlist, Inc.’s First Set
         of Interrogatories to
13       Defendant Google Inc.
         (Nos. 1-20))
14
         Exhibit 2 (Defendant        Google                GRANTED as to redacted portions at:
15       Google LLC’s August
         30, 2021 Second                                   18:6-14, 19:4-14
16       Supplemental
         Objections and
17       Responses to Plaintiff
         Netlist, Inc.’s
18
         Interrogatory Nos. 1
19       and 2)
         Exhibit 3 (Defendant        Google                GRANTED as to redacted portions at:
20       Google LLC’s June 3,
         2022 Third                                        13:7-10, 13:13-15
21       Supplemental
22       Objections and
         Responses to Plaintiff
23       Netlist, Inc.’s
         Interrogatory No. 2)
24       Exhibit 4 (Defendant        Google                GRANTED as to redacted portions at:
         Google LLC’s October
25       12, 2021 Third                                    38:4-14, 61:8-11, 61:19-21, 62:5-25,
26       Supplemental                                      63:12-25, 64:1-15, 66:19-27, 67:1-3,
         Objections and                                    67:15-25, 81:1-2, 82:1-17, 82:26-28,
27       Responses to Plaintiff                            83:4-8, 83:11
         Netlist, Inc.’s
28       Interrogatory No. 3)

                                                                            Case No. 3:09-CV-05718-RS
                                              [AMENDED] [PROPOSED] ORDER GRANTING MOTION TO SEAL
     Case 3:09-cv-05718-RS Document 296 Filed 06/10/22 Page 3 of 3




 1    Amended Exhibit 5       Google                GRANTED as to portions highlighted
      (Google’s August 10,                          in blue on pages 1-3.
 2    2021 Discovery
      Correspondence) (Dkt.
 3
      295)
 4

 5      SO ORDERED.

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 7 DATED:
                                                 HON. RICHARD SEEBORG
 8                                               United States District Judge
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                                                                     Case No. 3:09-CV-05718-RS
                                       [AMENDED] [PROPOSED] ORDER GRANTING MOTION TO SEAL
